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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

HEATHER MUSANTE,                 :
                                 :
     Plaintiff,                  :
                                 :
     v.                          :     CASE NO.    3:16cv00799(RNC)
                                 :
USI INSURANCE SERVICES, LLC,     :
                                 :
     Defendant.                  :



          RULING ON PLAINTIFF’S MOTION FOR RECONSIDERATION

     Pending before the court is plaintiff’s motion for

reconsideration (doc. #88) of the court's ruling granting in part

defendant's motion to compel (doc. #81).       For the following

reasons, the motion is DENIED.

     I. LEGAL STANDARD

     Local Rule of Civil Procedure 7(c) provides:

           Motions for reconsideration shall not be routinely
           filed and shall satisfy the strict standard applicable
           to such motions. Such motions will generally be denied
           unless the movant can point to controlling decisions or
           data that the court overlooked in the initial decision
           or order.

D.Conn.L.Civ.P. 7(c).    The standard for granting motions for

reconsideration is strict.     Shrader v. CSX Transp., Inc., 70 F.3d

255, 257 (2d Cir. 1995).    The grounds justifying reconsideration

are "an intervening change or controlling law, the availability

of new evidence, or the need to correct a clear error or prevent

manifest injustice."     Kolel Beth Yechiel Mechil of Tartikov, Inc.

v. YLL Irrevocable Trust, 729 F.3d 99, 104 (2d Cir. 2013). The
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court "must balance the policy of hearing a litigant's claims on

the merits against the policy in favor of finality . . . .               The

new evidence brought to the attention of the court must therefore

be highly convincing."       Novak v. Nat'l Broad. Co., 760 F. Supp.

47, 48 (S.D.N.Y. 1991) (citations and internal quotation marks

omitted).

     II. DISCUSSION

     Reconsideration is not warranted.          Plaintiff fails to set

forth any new controlling case law decided since the court

entered its ruling or any controlling case law the court

overlooked. Plaintiff does not introduce any new evidence that

has become available.       Rather, she reargues the same issues

presented in the underlying motion and during oral argument.              Her

disagreement with the court’s ruling is an insufficient basis

upon which to grant a motion for reconsideration.

     Even if the court were to grant the motion for

reconsideration, it would adhere to its ruling.           The court's

ruling was based on the information before it at the time, all of

which the court carefully considered.1


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        If the court were to reconsider, it likely would take into
account new information proferred by defendant to buttress its need
for the discovery it seeks. Defendant has brought to the court’s
attention the fact that plaintiff recently filed a personal injury
suit related to a motor vehicle accident in which she asserts
various permanent injuries and “anguish and distress of mind and
loss of life’s enjoyment.” (Doc. #95, at 4 and Ex. A, at 3-5.)
Defendant maintains that it needs to review plaintiff’s medical
records to determine which injuries allegedly flow from the motor

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     III. CONCLUSION

     For the reasons set forth above, Plaintiff’s Motion for

Reconsideration is DENIED.     This is not a recommended ruling.

This is a discovery ruling or order which is reviewable pursuant

to the “clearly erroneous” statutory standard of review.          28

U.S.C. § 636(b)(1)(A); Fed.R.Civ.P. 72(a); and Rule 72.2 of the

Local Rules for Magistrate Judges.      As such, it is an order of

the court unless reversed or modified by the district judge upon

motion timely made.

     SO ORDERED at Hartford, Connecticut this 16th day of

January, 2018.

                                 ___________/s/________________
                                 Donna F. Martinez
                                 United States Magistrate Judge




vehicle accident and which allegedly flow from her termination.
(Doc. # 95, at 4.)

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